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 6   Attorney for Defendant
     DANIEL COVARRUBIAS
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 13-CR- 00117-GEB
                                                    )
12                                                  )       STIPULATION AND
            Plaintiff,                              )       [PROPOSED] ORDER CONTINUING
13                                                  )       SENTENCING HEARING
     v.                                             )
14                                                  )
     DANIEL COVARRUBIAS,.                           )       Date: August 22 2014
15                                                  )       Time: 9:00am.
                                                    )       Judge: Honorable Garland E. Burrell, Jr
16
            Defendants.                             )
                                                    )
17                                                  )
                                                    )
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19          IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Olusere Olowoyeye, Assistant United States Attorney, attorney for plaintiff, together

21   with Kyle Knapp, attorney for defendant Daniel Covarrubias, that the previously-scheduled

22   status conference, currently set for May 23, 2014, be vacated and that the matter be set for

23   judgment and sentencing on August 22, 2014 at 9:00 a.m.

24          Counsel have conferred and this continuance is requested to allow defense counsel

25   additional time to review the pleadings in this matter, the probation report and to gather

26   information that potentially could reflect on Mr. Covarrubias’ exposure in this matter. In

27   addition, I recently took over the case from retained counsel, Barry Rekoon, who had a stroke,

28   //



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 1   and need to get his file and notes regarding the case.
 2   IT IS SO STIPULATED.
 3
     Dated: May 22, 2014                                            BENJAMIN B. WAGNER
 4                                                                  UNITED STATES ATTORNEY

 5                                                            by:   /s/ Olusere Olowoyeye
                                                                    OLUSERE OLOWOYEYE
 6
                                                                    Assistant U.S. Attorney
 7                                                                  Attorney for Plaintiff

 8   Dated: May 22, 2014                                            /s/ Kyle Knapp
 9
                                                                    KYLE KNAPP
                                                                    Attorney for Defendant
10                                                                  DANIEL COVARRUBIAS
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                                        [PROPOSED] ORDER
 1
            The Stipulation of the parties is hereby accepted and the requested continuance is
 2
     GRANTED. This matter shall be dropped from this court’s May 23, 2014 criminal calendar
 3
     and re-calendared for sentencing on August 22, 2014.
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 5          IT IS SO ORDERED.
     Dated: May 23, 2014
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